                 Case 2:24-cv-01349-NR Document 29-10 Filed 10/07/24 Page 1 of 3


Everhart, Ian

From:                Kotula, Kathleen
Sent:                Thursday, August 8, 2024 10:13 AM
To:                  Shohin Vance
Cc:                  Matt Haverstick; Samantha Zimmer
Subject:             RE: [External] FW: Elector affidavits


Shohin,

Can tell me who exactly you represent in this matter?

In terms of your previous email, I was out of the office last week, as I’m sure you are aware from my out of office
message.

Thanks,
Kat Kotula (she/her/hers)
Chief Counsel
PA Department of State

From: Shohin Vance <svance@kleinbard.com>
Sent: Wednesday, August 7, 2024 6:55 PM
To: Kotula, Kathleen <kkotula@pa.gov>
Cc: Matt Haverstick <mhaverstick@kleinbard.com>; Samantha Zimmer <szimmer@kleinbard.com>
Subject: [External] FW: Elector affidavits


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report suspicious email, use the Report Phishing button in Outlook.

Ms. Kotula: further to our email below, we represent various interested individuals, including
electors who have signed the Nomination Paper of Cornel West for President and Melina
Abduallah for Vice President. We would like to discuss with you the Department of State’s
apparent refusal to recognize the candidacy of said individuals. Please let us know whether you
are available for a call sometime tomorrow or Friday to explore the possibility of resolving this
matter without recourse to litigation.


Very truly yours,


Shohin H. Vance




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Shohin Vance
Partner
Kleinbard LLC




Three Logan Square
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message from your system.




From: Matt Haverstick <mhaverstick@kleinbard.com>
Sent: Thursday, August 1, 2024 4:21 PM
To: Kathleen Kotula <kkotula@pa.gov>
Cc: Shohin Vance <svance@kleinbard.com>
Subject: Elector affidavits

Ms. Kotula:

Please see the attached elector affidavits. We’d like to discuss with you how to handle these electors. Are you free
tomorrow?


Matthew H. Haverstick
Managing Partner
Kleinbard LLC

Three Logan Square, 5th Floor
1717 Arch Street |Philadelphia, PA 19103
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                                                                       2
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